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14                                UNITED STATES DISTRICT COURT

15                           FOR THE NORTHERN DISTRICT OF CALIFORNIA

16                                     SAN FRANCISCO DIVISION

17    AMERICAN FEDERATION OF                         Case No. 3:25-cv-01780-WHA
18    GOVERNMENT EMPLOYEES, AFL-CIO;
      AMERICAN FEDERATION OF STATE                   PLAINTIFFS’ MOTION FOR
19    COUNTY AND MUNICIPAL EMPLOYEES,                ADMINISTRATIVE RELIEF TO EXCEED
      AFL-CIO, et al.,                               PAGE LIMITATION FOR REPLY IN
20                                                   SUPPORT OF EX PARTE MOTION FOR
               Plaintiffs,                           TEMPORARY RESTRAINING ORDER
21                                                   AND ORDER TO SHOW CAUSE
          v.
22                                                   Civil Local Rule 7-11
23    UNITED STATES OFFICE OF PERSONNEL
      MANAGEMENT, et al.,
24
               Defendants.
25

26
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28


     PLS’ MOT. FOR ADMIN. RELIEF TO EXCEED PAGE LIMIT FOR REPLY ISO TRO, No. 3:25-cv-01780-WHA
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 1          Plaintiffs American Federation of Government Employees, AFL-CIO, et al. hereby

 2   respectfully submit this Motion for Administrative Relief, pursuant to Civil Local Rule 7-11, to

 3   exceed the page limitation applicable to Plaintiffs’ Reply in Support of Ex Parte Motion for

 4   Temporary Restraining Order and Order to Show Cause, which is being filed today. Plaintiffs seek an

 5   additional seven (7) pages for their reply. Plaintiffs’ counsel emailed Defendants’ counsel to ask

 6   whether they would stipulate to the requested relief, but did not receive a response by time of filing.

 7          In support of their request, Plaintiffs provide the following showing of good cause:

 8          1.      In light of rapidly developing factual circumstances in this case, Plaintiffs have been

 9   collecting additional evidence in support of their Motion for a Temporary Restraining Order, and

10   require seven additional pages to fully present that that evidence, which is responsive to the new

11   evidence Defendants filed at 10:19 am today in response to this Court’s order of February 25, 2025.

12          2.      Plaintiffs have been diligent in drafting their motion and supporting papers by this

13   Court’s deadline of February 26, 2025 at midnight, and have attempted to shorten the length of the

14   brief as much as possible. However, Plaintiffs require an additional seven (7) pages in order to fully

15   address the complex issues in this case for the Court, particularly given the condensed briefing

16   schedule for this motion.

17          3.      Given Plaintiffs’ timeline to draft the Reply memorandum, it was not completed until

18   after 11 p.m. Tholin Dec. ¶2. At 10:23 p.m., Plaintiffs’ counsel emailed Defendants’ counsel to ask

19   whether Defendants would stipulate to an extension of seven pages for the reply brief. Id. ¶3.

20   Plaintiffs’ counsel did not receive a response before the deadline for filing. Id. ¶4.

21          On the basis of the foregoing showing of good cause, Plaintiffs respectfully request this Court

22   to permit them to file the accompanying Reply in support of the Ex Parte Motion for Temporary

23   Restraining Order and Order to Show Cause of 22 pages.

24   DATED: February 26, 2025                       Scott A. Kronland
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